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                                                  January 15, 2020

VIA ECF

Honorable John Michael Vazquez
United States District Judge
Frank R. Lautenberg U.S. Post Office & Courthouse
Newark, New Jersey 07101

           Re: In re Celgene Corporation Securities Litigation.
               Civil Action No. 18-04772 (JMV) (JBC)

Dear Judge Vazquez:

        This firm, along with Jones Day, represents Defendants Celgene Corporation, Mark J.
Alles, Peter N. Kellogg, Scott A. Smith, Peter N. Kellogg, Terrie Curran, Jacqualyn A. Fouse,
Philippe Martin, Nadim Ahmed, Jonathan Q. Tran and Peter Callegari (collectively,
“Defendants”) in the above-referenced matter. On behalf of Plaintiffs and Defendants, we
respectfully enclose a proposed Stipulation regarding Defendants’ deadline to answer the Second
Amended Consolidated Class Action Complaint. The parties have consented to the form,
substance and entry of this proposed Stipulation. If the enclosed Stipulation meet with your
approval, we respectfully request that Your Honor execute the enclosed Order and direct its
entry.
        We thank the Court for its assistance with this matter. If you have any questions or
require further information, please do not hesitate to contact me.


                                                             Respectfully submitted,

                                                             s/ Lawrence S. Lustberg
                                                             Lawrence S. Lustberg


Enclosures

cc:          All Counsel of Record (via ECF)




Newark New York Trenton Philadelphia Wilmington                                     gibbonslaw.com
